Case 0:19-mc-60417-CMA Document 12 Entered on FLSD Docket 03/11/2019 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 19-mc-60417-CIV-ALTONAGA

  WALGREEN CO., et al.,

          Plaintiffs,
  v.

  WYETH, INC., et al.,

        Defendants.
  _________________________/

                                               ORDER

          Pursuant to 28 U.S.C. section 636(b)(1)A) and the Magistrate Judge Rules of the Local

  Rules of the Southern District of Florida, the above-styled case is referred to United States

  Magistrate Judge Chris M. McAliley to submit a report and recommendation to the Court on

  Plaintiffs’ Motion to Transfer, or in the Alternative, to Compel [ECF No. 1], filed February 15,

  2019.

          It shall be the responsibility of the parties in this case to note on all motions and

  submissions pertaining to the referenced matter the name of Magistrate Judge McAliley.

          DONE AND ORDERED in Miami, Florida, this 11th day of March, 2019.



                                                        _________________________________
                                                        CECILIA M. ALTONAGA
                                                        UNITED STATES DISTRICT JUDGE

  cc:     counsel of record;
          Magistrate Judge Chris M. McAliley
